 Case 2:21-cv-04758-JVS-JDE Document 212 Filed 03/27/23 Page 1 of 3 Page ID #:6977




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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                            SOUTHERN DIVISION
11
   DBEST PRODUCTS, INC., a                Case No.: 2:21-cv-04758-JVS-JDE
12 California corporation,
                                          JUDGMENT       [207]
13
          Plaintiff
14                                        JUDGE: JAMES V. SELNA
     v.                                   COURTROOM: 10C
15
   GUANGZHOU YUCHENG
16 TRADING CO., LTD., a foreign
   limited liability company,
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          Defendant,
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                                                                                  JUDGMENT
                                                              Case No. 2:21-cv-04758-JVS-JDE
 Case 2:21-cv-04758-JVS-JDE Document 212 Filed 03/27/23 Page 2 of 3 Page ID #:6978




1          On December 6, 2022, the Court granted dbest’s Motion for Partial Summary
     Judgment of Infringement of U.S. Patent No. 9,233,700 (“the ’700 Patent”) and
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     dbest’s Motion for Partial Summary Judgment re GYT’s Invalidity Defenses. Dkt.
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     133. On March 3, 2023 the jury returned a verdict in favor of dbest, awarding lost
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     profits of $463,136.00 and finding willful infringement of the ’700 Patent. Dkt. 191.
5    The Clerk is directed to promptly enter judgment on the Court’s judgment of
6    infringement and the jury verdict.
7          The products the Court found to infringe the ’700 Patent are depicted below:

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                                                                                          JUDGMENT
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     Dated: March 27, 2023.
11                                    ______________________________
12                                                   James V. Selna
13                                             United States District Judge

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                                                                                       JUDGMENT
                                         -2-                       Case No. 2:21-cv-04758-JVS-JDE
